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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                         Case No. 18-cv-22923-GAYLES/OTAZO-REYES

   JELEN CARPIO
   as personal representative of the
   estate of DIOGENES CARPIO, JR.,

           Plaintiff,

   -vs-

   NCL (BAHAMAS) LTD.,
   D-I DAVIT INTERNATIONAL, INC.,
   HATECKE SERVICE USA, LLC,

         Defendants.
   _______________________________/

               D-I DAVIT INTERNATIONAL, INC.’S MOTION TO DISMISS
           OR, IN THE ALTERNATIVE, MOTION FOR SUMMARY JUDGMENT,
                    AND INCORPORATED MEMORANDUM OF LAW

          Defendant D-I Davit International, Inc. (“Davit US”), by and through its undersigned

  counsel, hereby files its Motion to Dismiss the Complaint filed by Jelen Carpio (“Plaintiff”)

  pursuant to Fed. R. Civ. P. 12(b)(6), or in the alternative, its Motion for Summary Judgment

  pursuant to Fed. R. Civ. P. 12(d) and 56, with incorporated Memorandum of Law, and in support

  thereof states as follows:

                                  PRELIMINARY STATEMENT
          The instant Motion stems from a simple fact: Davit US is not the correct party. Plaintiff’s

  claims sound in tort arising out of equipment supposedly manufactured and serviced by Davit US

  on a vessel, the Norwegian Breakaway. However, Plaintiff’s allegations fail to properly identify

  Davit US as the manufacturer, and the evidence demonstrates that Davit US was incorporated after

  the allegedly defective product was manufactured and installed, and it is an inactive corporation

  with no role in servicing this equipment. Instead, as Plaintiff’s have been repeatedly informed, a
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  German entity is the correct party. Under applicable law, as Davit US falls outside the allegedly

  defective product’s distributive chain, the claims against it must be dismissed.

                                      STATEMENT OF FACTS1
  I.      Plaintiff’s Allegations

          1.     This is an action for damages allegedly “arising from the injuries, suffering and

  death” of decedent Diogenes Carpio, J.R. (“Decedent”) that Plaintiff asserts against Defendants

  NCL (Bahamas) Ltd. (“NCL”), Davit US, and Hatecke Service USA, LLC (“Hatecke”)

  (collectively, “Defendants”). (Compl., ¶ 1). Defendant NCL “owned, operated, managed and/or

  controlled the Norwegian Breakaway, and was the employer of [Decedent].” (Compl., ¶ 7).

          2.     On July 20, 2016, the Norwegian Breakaway “was in navigable waters around

  Bermuda” with Decedent “working on board.” (Id., ¶ 12). On that day, Decedent was involved

  in accident involving a rescue boat during a life boat and rescue drill, which resulted in Decedent

  falling into the water, and ultimately being struck by the rescue boat. (Compl., ¶¶ 13-15).

          3.     Plaintiff alleges that the accident occurred because the life boat utilized a “davit”

  mechanism, and that “a wire on the davit snapped and/or broke causing [Decedent] to fall …” (id.,

  ¶¶ 14-15).    Plaintiff alleges that Decedent “sustained acute cardio respiratory failure from

  drowning, and died.” (Id., ¶ 17).

          4.     Plaintiff alleges that Davit US “manufactured and sold” the davit used aboard the

  life boat on the Norwegian Breakaway. (Id., ¶ 14).




  1
          The Statement of Facts is drawn from (i) Plaintiff’s Complaint; (ii) the Declaration of
  Joachim Wiese, dated August 9, 2018 (“Wiese Dec.”), and the exhibits annexed thereto; and (iii)
  the Declaration of Anthony Strasius, dated August 17, 2018 (“Strasius Dec.”), and the exhibits
  annexed thereto. For the convenience of the Court and the parties, the Statement of Facts is set
  forth in separately numbered paragraphs to facilitate the parties’ responses in the event the Court
  elects to convert this Motion into one for summary judgment.
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  II.     The Complaint

          5.     Plaintiff filed her Complaint, dated April 27, 2018, in the Circuit Court of the

  Eleventh Judicial Circuit in and for Miami-Dade County, Florida, in an action styled Jelen Carpio

  v. NCL (Bahamas) Ltd., et al., Case Number 2018-013783-CA-01. (Compl.)

          6.     The Complaint contained four counts directed to Davit US. Count III of the

  Complaint asserts a cause of action under the Death on the High Seas Act, 46 U.S.C. § 30301 et

  seq., alleging Defendants, including Davit US, owed Decedent a “duty of reasonable care” which

  they breached through their “negligence.” (Id., Count III, ¶¶ 39-40).

          7.     Count V asserts a claim for Wrongful Death under the General Maritime Law,

  generally alleging that Davit US breached a “duty of reasonable care” by: (i) failing to provide,

  maintain, service, and inspect the “davit and/or related equipment”; (ii) failing to provide adequate

  warnings and instructions; and (iii) failing to use modern work methods and employ “mechanized

  aids, commonly available in other heavy industries …” (id., Count V, ¶¶ 47-48).

          8.     Count VI asserts a claim sounding in Strict Liability, alleging Davit US

  “manufactured, designed, marketed, sold and distributed” the davit installed in the Norwegian

  Breakaway that “failed to safely operate as intended.” (Id., Count VI, ¶ 51). Count VI alleges

  defective design, defective manufacturing, and defective warnings. (see id., ¶ 54).

          9.     Count VII of the Complaint asserts a claim of Breach of Implied Warranty of

  Fitness for Merchantability and Fitness for Particular Purpose against Davit US, asserting Davit

  US breached these implied warranties by distributing, delivering, marketing and/or selling the

  defective davit …” (id., Count VII, ¶¶ 57-58).

  III.    Davit US’ Lack of Relationship to the Norwegian Breakaway

          10.    Davit US “did not manufacture, design, market, sell, or distribute any davit or any

  equipment installed or otherwise located on the Norwegian Breakaway.” (Wiese Dec., ¶ 5).
                                                  3

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          11.    Davit US is a wholly owned subsidiary of d-i davit international GmbH (“Davit

  DE”), incorporated on October 22, 2013 in the State of Delaware. (Wiese Dec., ¶ 2).

          12.    It was not in operation at the time of the Norwegian Breakaway’s construction:

  construction began in September of 20112 and the shipyard delivered it April 25, 2013.3 In fact,

  Davit US is currently an inactive corporation with no employees. (Wiese Dec., ¶ 3).

          13.    Davit US not only did not manufacture, design or sell the davits installed or located

  on the Norwegian Breakaway, but also “did not prepare or provide any manuals, policies or

  procedures in any way related to any davit or other equipment installed or otherwise located on

  the Norwegian Breakaway” and did not “install, service, maintain, inspect, or perform any other

  services in any related to any davit or other equipment installed or otherwise located on the

  Norwegian Breakaway.” (Wiese Dec., ¶¶ 6-7)

          14.    The davits installed on the Norwegian Breakaway were instead manufactured and

  sold by Davit DE in Germany. (Id., ¶ 8).

  IV.     Plaintiff’s Counsel Learned that the Complaint Named the Incorrect Entity

          15.    Davit US’s counsel contacted Plaintiff’s counsel and informed them the Complaint

  named the incorrect entity: on June 18, 2018, Anthony Strasius, of the law firm Wilson, Elser,

  Moskowitz, Edelman & Dicker LLP (“Wilson Elser”) contacted Michael Winkleman of Lipcon,

  Margulies, Alsina & Winkleman, P.A. (“Lipcon”), to “advise[] that [Davis US] is not the correct

  defendant in this case, in that it did not deliver or install or manufacture the davit[s] in question

  for this vessel” and to state that Wilson Elser was “willing to provide [Lipcon] with the name of


  2
          Norwegian Breakaway, the Largest Ship Ever Constructed in Germany, Floats Out from
  Building Dock, NORWEGIAN CRUISE LINES (Feb. 26, 2013), https://es.ncl.com/press-
  releases/norwegian-breakaway-largest-ship-ever-constructed-germany-floats-out-building-dock
  3
          Meyer Werft Delivers Norwegian Breakaway, MEYER WERFT (Apr. 25, 2013),
  https://www.meyerwerft.de/en/meyerwerft_de/medien/presseticker/pressemitteilung_
  detail_10240.jsp
                                                4

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  the correct manufacturer located in Germany if [Plaintiff would] voluntarily dismiss [Davit US].”

  (Strasius, Dec., ¶¶ 7-8; Ex. A, p. 2). Additionally, Davit US requested an extension until Monday,

  July 30, 2018 to respond to the Complaint. (Id., Ex. A, p. 2)

           16.   In response, Plaintiff’s counsel confirmed the extension and requested information

  regarding the proper defendant. (Id., p. 1).

           17.   Accordingly, on July 24, 2018, Wilson Elser provided Lipcon with documentation

  demonstrating that Davit DE sold the davits in question. (Strasius Dec., Ex. B, p. 4).

           18.   On August 7, 2018, Wilson Elser contacted Lipcon to request an update, noting the

  waste of resources that would result if Plaintiff elected to “continue pursuing the incorrect entity.”

  (Id., p. 2).

           19.   Lipcon responded that Plaintiff was not willing to “swap out the defendants” citing

  the need to better “understand the relationship, if any” between the entities. (Id.)

           20.   Wilson Elser offered to produce an affidavit providing further detail. (Id., p. 1)

  Additionally, to further facilitate the naming of the proper party, Wilson Elser offered to

  recommend to Davits DE that it waive service of the Complaint, subject to preserving all defenses,

  under the 1965 Hague Convention of Service Abroad of Judicial and Extrajudicial Documents (the

  “Hague Convention”) in return for discontinuing the action against the U.S. entity. (Id.) Lipcon

  replied that an affidavit would “weigh heavily in [their] decision.” (Id.)

           21.   Accordingly, on August 8, 2018, Wilson Elser provided Lipcon with the Wiese

  Declaration (id., p. 1), which (i) testified to Davits US having only been incorporated in 2013 and

  having no involvement in the sale, installation, service or maintenance of the davits or equipment

  located on the Norwegian Dream, and (ii) attached Davits US’ tax filings demonstrating that it had

  no corporate operations and was thus inactive. (See Wiese Declaration, generally, and Ex. A).


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  V.      Additional Procedural History

          22.    While Wilson Elser was engaged in discussions with Plaintiff’s counsel, on July

  19, 2018, Defendant NCL filed a Notice of Removal removing the state court action to this Court.

  (Dkt. #1). The matter was assigned to Judge Darrin P. Gayles. (Dkt. #2).

          23.    On July 30, 2018, noting the removal, Wilson Elser requested an additional twenty

  (20) days to respond to the Complaint, which Plaintiff did not oppose. (Strasius Dec., Ex. B, p.

  3). Davit US accordingly filed an unopposed Motion for Extension of Time to File its Response,

  Reply, or Answer (Dkt. #10), and on July 31, 2018 this Court subsequently entered a reset deadline

  on the docket requiring Davit US to file its response by August 17, 2018.

          24.    To date, Plaintiff has declined to discontinue the action against Davit US and

  proceed only against the proper party, Davit DE, necessitating the instant Motion.

                                              ARGUMENT
  I.      Legal Standard
          A court may dismiss a complaint “for failure upon which relief can be granted.” Fed. R.

  Civ. P. 12. To survive a motion to dismiss, a complaint must contain “sufficient factual matter,

  accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S.

  662, 679, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009). Mere “formulaic recitation of the elements of

  a cause of action will not do.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 127 S.Ct. 1955, 1965,

  167 L.Ed.2d 929 (2007). Instead, the “[f]actual allegations must be enough to raise a right to relief

  above the speculative level.” Id. “[C]onclusory allegations, unwarranted deductions of fact or

  legal conclusions masquerading as facts will not prevent dismissal.” Oxford Asset Mgmt., Ltd. v.

  Jaharis, 297 F.3d 1182, 1188 (11th Cir. 2002). Here, dismissal is warranted under Rule 12(b)(6)

  as Plaintiff’s conclusory assertion that Davit US was the “manufacturer” lacks sufficient detail

  identifying the basis of their knowledge or supporting their identification of the company.
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          In the alternative, if the Court credits this conclusory allegation, then the evidence

  establishes that Davit US had no role in the manufacture, installation, and service of the davits.

  Where a party presents evidence outside the pleadings on a 12(b)(6) motion, the court may consider

  the matters by converting the motion to one for summary judgment. See Fed. R. Civ. P. 12(d);

  Crystal Colony Condo. Ass’n, Inc. v. Aspen Specialty Ins. Co., 6 F. Supp. 3d 1295, 1297 (S.D. Fla.

  2014). Summary judgment shall be entered if the record, including pleadings, documents, and

  declarations, or affidavits, show that there is no genuine issue as to any material fact and that the

  moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56; see also Herzog v.

  Castle Rock Entertainment, 193 F.3d 1241, 1246-47 (11th Cir. 1999). A “genuine issue” exists

  only where the evidence is of such a nature that a reasonable jury could return a verdict in favor

  of the non-moving party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248-52 (1986).

  II.     Governing Law Requires a Connection between the Injurious Product and Davit US
          Plaintiff’s claims against Davit US sound in strict products liability and breach warranty,4

  as well as in negligence.5 Each of Plaintiff’s claims against Davit US therefore center on

  allegations that Decedent’s injuries were the result of an allegedly defective product, namely the

  davits installed on the Norwegian Breakaway. Consequently, each shares a requisite precondition:

  Davit US must bear some relation to the defective product.

          Without this connection, a Plaintiff cannot assert a claim. “It is aphoristic that a plaintiff

  cannot prevail on claims for negligence, breach of warranty or strict liability, unless the plaintiff

  establishes that the product which allegedly caused the plaintiff’s injury was manufactured or sold



  4
         (See Compl., Counts VI and VII).
  5
         (See Compl., Count III III, ¶ 40) (asserting Decedent died through Davit US’
  “negligence”); see also (id., Count V, ¶ 47-48) (claiming that Davit US’ “acts and/or omissions”
  breached a “duty of reasonable care” owed to Decedent.)

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  by the defendant.” Liggett Group, Inc. v. Engle, 853 So.2d 434, 467 n. 46 (Fla. DCA 2003), aff’d

  in part, rev’d in part on other grounds, Engle v. Liggett Group, Inc., 945 So.2d 1246 (Fla. 2006).

  Proper defendants are thus the “manufacturers, as well as to others in the distribution chain,

  including retailers, wholesalers, distributors, and, most recently, commercial lessors.” Samuel

  Friedland Family Enters. v. Amoroso, 630 So.2d 1067, 1068 (Fla.1994). Ultimately, it is well-

  settled that as “a necessary precursor” to such tort claims, “a plaintiff must establish that it has

  properly identified the defendant as actually being within the distributive chain of the product

  which caused injury.” Devore v. Howmedica Osteonics Corp., 658 F. Supp. 2d 1372, 1378

  (M.D.Fla. 2009). An inability to do so warrants dismissal.6

  III.    Dismissal Is Warranted as Davit US Was Not Part of the Distributive Chain
          This elementary requirement warrants dismissal, either under Rule 12 or Rule 56, because

  Davit US did not manufacture, sell, or service the davits installed on the Norwegian Breakaway.7

  After all, “[a] defendant cannot be liable” in tort “if the plaintiff did not use its product.” Belanger

  v. RJ Reynolds Tobacco Co., 2009 WL 10439787 (Fla. 8th Cir. Ct. Jan. 7, 2009).

          Dismissal at the motion to dismiss stage is appropriate because Plaintiff’s allegations

  linking Davit US to the product are insufficient. Plaintiff merely conclusorily asserts that Davit

  US manufactured the davits (Compl., ¶ 8), but provides absolutely no factual matter establishing

  what their basis of knowledge is or how they identified Davit US. For all the detail provided,

  Plaintiff could have written in any name, rendering its allegation conclusory and speculative.




  6
           See Echols v. RJ Reynolds Tobacco Co., 2014 WL 5305633 (S.D.Fla. Oct. 14, 2015)
  (dismissing claims of negligence and strict products liability against tobacco product manufacturer
  where plaintiff could not allege when plaintiff allegedly consumed the manufacturer’s products).
  7
           Howe v. Wyath Inc., 2010 WL 1708857 (M.D.Fla. Apr. 26, 2010) (plaintiff could not assert
  strict liability claims against defendants who did not manufacture the product that injured
  plaintiff.)
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          Additionally, and in the alternative, summary judgment is required because it is beyond

  cavil that Davit US was not involved. The davits in question were manufactured by Davits DE in

  Germany (Wiese Dec., ¶ 8), and it was Davit DE who serviced the Norwegian Breakaway (Strasius

  Dec., Ex. B, p. 4). Davits US had no role in the davits’ manufacture, design, sale, distribution,

  marketing, installation, service, or maintenance. (Id., ¶¶ 5, 7).     Indeed, Davit US could not

  possibly have any relation to the davits. Public press releases (all equally available to Plaintiff)

  announced that construction on the Norwegian Breakaway commenced in 2011 and, at latest,

  concluded April 25, 2013 with delivery of the vessel to NCL. (See Statement of Facts, Part III,

  notes 2 and 3, supra, at p. 4). Davit US, however, was not incorporated until October 22, 2013,

  nearly six months later. Moreover, Davit US is an inactive corporation with no employees or

  operations. (Wiese Dec., ¶ 3; see also id., Ex. A).

          It is therefore impossible for Davits US to have manufactured, sold or installed the davits

  during the vessel’s construction, and it could not have been involved in their subsequent servicing.

  Thus, Davit US is nowhere within the allegedly defective product’s chain of distribution, requiring

  dismissal. See, e.g., Siemens Energy & Automation, Inc. v. Medina, 710 So. 2d 312 (Fla. 3d DCA

  1998) (dismissing claims against party who “was not a part of the distributive chain … neither a

  distributor nor a retailer.”); Manely-Deboer Lumber Co. v. Georgia-Pacific Corp., 897 So.2d 528

  (Fla. DCA. 2005) (affirming dismissal of claims against alleged suppliers of defective product

  where consumer could not identify that any of the alleged suppliers provided the defective product

  that plaintiff claimed caused his injury); Scheckells v. AGV-USA Corp., 987 F.2d 1532, 1533 n. 2

  (11th Cir. 1993) (noting “District Court correctly granted summary judgment in favor of [a

  defendant] on the ground that the undisputed evidence show[ed] that [the defendant] did not

  manufacture the [defective product] and was not part of the chain of distribution.”).


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   IV.     Plaintiff’s Counsel is Fully Aware of Its Error

           Davit US’s counsel repeatedly informed Plaintiff’s counsel that they are pursuing the

   wrong entity, and has provided them with the documents and testimony demonstrating this. (See

   generally Strasius Dec. and Ex. A). Furthermore, Davit US’ counsel has attempted to facilitate

   Plaintiff’s substituting in the proper party. Davit US’s counsel not only identified Davit DE, but

   also proposed advising Davit DE to waive service under the Hague Convention if Plaintiff’s

   counsel would discontinue its misdirected claims against Davit US. Despite Davit US’ efforts,

   Plaintiff’s counsel has refused. However, Plaintiff’s counsel’s obstinacy is no justification for

   Davit US to remain in this action when the weight of the law holds otherwise.

                                            CONCLUSION

           For the foregoing reasons, it is respectfully requested that this Court enter an Order

   dismissing the claims against Davit US with prejudice.

                                                      Respectfully submitted,


                                                      ___/s/ Anthony Strasius_______
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                                      CERTIFICATE OF SERVICE

                  I HEREBY CERTIFY that on August 17, 2018, I electronically filed the foregoing

   document with the Clerk of the Court using the CM/ECF system which will send notification of

   such filing to the following CM/ECF participants:

    Michael Wikleman, Esq.                         Jerry D. Hamilton, Esq.
    Jason R. Margulies, Esq.                       Robert M. Oldershaw, Esq.
    Adria G. Notari, Esq.                          Elisha M. Sullivan, Esq.
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